   Case 2:19-cv-04907-DLI-RML Document 11 Filed 11/19/19 Page 1 of 2 PageID #: 61


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
MARISSA J. LONARDO
                                                                           ORDER
                                                                           19 CV 04907 (DLI)(RML)
                                 Plaintiff(s),
               -against-

MANUEL ALEJANDRO RUIZ, et al.,

                                    Defendant(s).
-------------------------------------------------------------------X

        An initial conference in the above-captioned case has been scheduled for December 11, 2019 at

2:00 p.m., before the Honorable Robert M. Levy, United States Magistrate Judge, at 225 Cadman Plaza

East, Brooklyn, New York. Upon arrival, parties must check-in with chambers by calling x2340 from

one of the attorney conference rooms located in Courtroom 11-B South. All counsel must be present.

Plaintiff’s counsel is directed to confirm with defendants’ counsel that all necessary participants

are aware of this conference. In the event an answer has not yet been filed, plaintiff’s counsel is to

notify defendant’s counsel of this conference as soon as an answer is filed. If an answer is not filed in

advance of the conference date, plaintiff’s counsel is to notify the court, in writing, to arrive two days

before the scheduled conference. No adjournment requests will be considered unless filed by ECF at

least forty-eight (48) hours before the scheduled conference.

        THE PARTIES ARE REMINDED OF THE REQUIREMENTS OF THE

AMENDMENTS TO RULE 26 Fed. R. Civ. P. IT IS EXPECTED THAT: 1) THE MEETING

REQUIRED BY THIS RULE WILL BE HELD AT LEAST 14 DAYS BEFORE THE

CONFERENCE, 2) THE MANDATORY DISCLOSURE REQUIRED BY THE RULE WILL

BE MADE BEFORE THE CONFERENCE, AND 3) THE WRITTEN

REPORT CALLED FOR BY THE RULE WILL BE PREPARED AND AVAILABLE TO THE

COURT BY THE TIME OF THE CONFERENCE.
  Case 2:19-cv-04907-DLI-RML Document 11 Filed 11/19/19 Page 2 of 2 PageID #: 62


          The parties are advised that all parties in civil actions in this district, except those appearing

pro se, are now required to participate in Electronic Case Filing (ECF). ECF enables both the court

and litigants to file all case documents electronically, including pleadings, motions, correspondence

and orders. ECF is designed to be a user-friendly system which is easily understood. A user's manual

is available through the Clerk's Office, or at our website at http://www.nyed.uscourts.gov. If needed,

free training can be arranged for attorneys and their staff by contacting the Clerk's Office at (718) 613-

2312. All counsel of record will receive notice by e-mail every time a document is filed in this case

via ECF. For more information, please consult my individual rules, which are attached and are posted

on the EDNY website. All counsel of record who have not yet registered for ECF must do so within

two weeks. If there are other attorneys in the firm who will also be working on this case, such

attorneys should promptly file a notice of appearance and register for ECF. In exceptional

circumstances, a party may be exempted from the ECF requirements, but only upon a written

application to my chambers explaining in detail the serious hardships that compliance with ECF would

entail.

                 Parties appearing pro se are not subject to the rules regarding Electronic Case

Filing (ECF) and are therefore directed to file all correspondence and other submissions by first

class mail, with a copy to defendants’ counsel.

          SO ORDERED.

DATED: Brooklyn, NY
       November 19, 2019

                                                                    /s/
                                                         ROBERT M. LEVY
                                                         United States Magistrate Judge
